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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                                  MDL No. 2741
 LIABILITY LITIGATION                                     Case No. 3:16-md-02741-VC

                                                          CASE MANAGEMENT STATEMENT
 This document relates to:

 Sheller, et al. v. Monsanto Co., Case No.
 3:19-cv-07972

       Plaintiff Aaron Sheller and Defendants, by counsel, respectfully file this Case Management

Statement.

                  1. Jurisdiction and Service:

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a)(1) as modified

by the Class Action Fairness Act of 2005, because at least one member of the Class is a citizen of

a different state than Defendant, there are more than 100 members of the Class, and the aggregate

amount in controversy exceeds $5,000,000.00, exclusive of interest and costs.

       On September 30, 2019, Mr. Sheller brought a class action in the Southern District of

Indiana seeking medical monitoring damages from Defendants Bayer AG1 and Monsanto

Company related to their manufacture and sale of Roundup and similar glyphosate-containing

products. Case No. 1:19-cv-04063-TWP-DML. (S.D. Ind.). On December 4, 2019, that matter was

transferred to the Northern District of California (Sheller v. Bayer AG, Case No. 3:19-cv-

07972) and on December 10, 2019, it was consolidated with this multidistrict litigation (In re

Roundup Products Liability Litig., Case No. 3:16-md-02741, the "MDL").

       On February 3, 2021, Mr. Sheller filed an amended complaint with other plaintiffs,

including Ramirez. MDL ECF No. 12507. On October 1, 2021, Mr. Sheller was


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           Bayer AG has not been served so Monsanto is the only defendant joining this motion.
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voluntarily dismissed from the Ramirez complaint, but Mr. Sheller continues to maintain his

action, Sheller v. Bayer AG, Case No. 3:19-cv-07972, and remains a party to the MDL, MDL ECF

No. 13881 (10/1/21 Stipulation).

               2. Facts:

       Plaintiff Aaron Sheller (“Sheller) is a resident of Hamilton County, Indiana and citizen of

the United States. Sheller is a partial owner of Sheller Farms, LLC (“Sheller Farms”), an Indiana

limited liability company. As an owner who works the acreage owned by Sheller Farms and other

acreage for which Sheller Farms is contracted to work, Sheller regularly participated in the

spraying of 300 to 700 gallons of Roundup on approximately 1,000-3,000 acres of farmland twice

per year for 15 years. Until in or about 2018, Sheller only wore gloves while spraying Roundup

but was not warned and did not know he should wear any other protective gear. Once he learned

of the potential for causing cancer, in or about the spring of 2018, he began wearing respiratory

gear and using charcoal filters. As a direct and proximate result of being exposed to Roundup,

Plaintiff Aaron Sheller alleges he is at an increased risk for developing Non-Hodgkin’s lymphoma

(“NHL”) and other illness. Defendant denies these allegations.

               3. Legal Issues:

       Plaintiff brings a single cause of action for negligence, for which he seeks medical

monitoring as a remedy, individually and on behalf of a class of persons. Plaintiff will seek to

certify, pursuant to Fed. R. Civ. P. 23, a class defined as: “All persons who used Roundup in the

States of Arizona, Arkansas, California, Colorado, District of Columbia, Florida, Illinois, Indiana,

Maryland, Massachusetts, Missouri, Montana, New Jersey, Ohio, Pennsylvania, Utah and West

Virginia for agricultural business or other commercial purposes.” This case also presents at least

the following additional legal issues (in no particular order):

          Whether the Court should certify the proposed class.
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          Whether the named Plaintiffs have standing to bring their claims.

          Whether the named Plaintiffs’ claims are timely.

          Whether medical monitoring is an available remedy.

               4. Motions:

       There are no currently pending motions.

       Defendant anticipates filing a motion to challenge Plaintiffs’ standing, Daubert motions to

challenge any experts put forward by Plaintiffs, a summary judgment motion, and other motions

as may be appropriate.

               5.   Amendment of Pleadings:

       Plaintiff does not anticipate amending the pleadings at this time.

               6. Evidence Preservation:

       The parties have reviewed the Guidelines Relating to the Discovery of Electronically

Stored Information (“ESI Guidelines”), and are meeting and conferring pursuant to Fed. R. Civ.

P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence relevant to the

issues reasonably evident in this action.

               7. Disclosures:

       The parties have not yet served Rule 26(a) disclosures.

               8. Discovery:

       The parties have not yet taken any discovery beyond the discovery taken in the MDL.

Plaintiff does not anticipate needing additional discovery. Defendant anticipates needing to

conduct discovery related to Plaintiffs’ class-certification motion, including, but not limited to,

deposition of the named Plaintiffs. Defendant also reserves the right to take any other discovery

to which it is entitled, including discovery related to Plaintiffs’ standing.

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                9. Class Actions:

        The parties are conferring regarding a schedule for Plaintiff’s motion for class certification.

All attorneys of record for the parties have reviewed the Procedural Guidance for Class Action

Settlements.

        Defendant contends that this case is not maintainable as a class action under Federal Rule

of Civil Procedure 23.

                10. Related Cases

        Two actions related to this case, and part of this MDL, are listed below:2
               Dolores Ramirez v. Monsanto Co., No. 3:19-CV-02224-VC (N.D. Cal.): Ramirez

originated in this Court and became part of the MDL proceedings. The Ramirez complaint asserts

claims for strict liability on design and failure to warn theories, negligence or negligent

misrepresentation, and declaratory judgment. Plaintiff Robert Ramirez used a concentrated mix

of Roundup® in the maintenance yard of his employer from 1999 to 2013. Mr. Ramirez was

diagnosed with NHL in 2018. Mr. Ramirez died on January 8, 2024 and was succeeded in the

litigation by his wife Plaintiff Dolores Ramirez. Plaintiff Dexter Owens alleges that he sprayed

Roundup® for a month as part of his job and developed a rash on his hand. Mr. Owens does not
allege that he has been diagnosed with NHL but alleges an increased risk of developing NHL. The

plaintiffs in Ramirez seek to certify two classes: (1) a class of “[a]ll citizens of the United States

that have been exposed to Roundup® and have been diagnosed with” NHL; and (2) a class of “[a]ll

citizens of California who have been exposed to Roundup® and have not been diagnosed with”

NHL.
               Perez-Hernandez, et al. v. Bayer Aktiengesellschaft, et al., No. 3:24-cv-01736

(N.D. Cal.) Perez-Hernandez was originally filed in this Court and then transferred to the Central


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         The Court has set a CMC for both the Ramirez and Perez-Hernandez matters for the same date and time
as the CMC in this case.
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District of California as the proper originating venue. The case was then transferred back to this

District Court for pre-trial proceedings as part of the MDL. The operative Amended Complaint

asserts claims for negligence or negligent misrepresentation, violation of the California Unfair

Competition Law, and declaratory relief. The Complaint seeks compensatory damages, economic

damages, pre- and post-judgment interest, and cost and reasonable attorneys’ fees. Plaintiffs Jonas

Perez-Hernandez and Isabel Perez-Hernandez both allege that they were exposed to Roundup® as

part of their agricultural work over a period of 19 years. They allege an increased risk of

developing NHL. They seek to certify a California class of agricultural workers, landscapers and

groundskeepers who (1) were occupationally exposed to Roundup® for ten or more lifetime

exposure days prior to June 21, 2024, (2) are not diagnosed with NHL or under the care of a

physician for suspected NHL, and (3) have not commenced a lawsuit or retained counsel to pursue

claims related to Roundup® exposure.

        Defendant wishes to discuss with the Court the efficient disposition of this case and

Ramirez and Perez-Hernandez.

                11. Relief:

        Plaintiff seeks relief in the form of a medical monitoring program for the putative Class.

The scope of medical monitoring relief, and the costs thereof, will be the subject of expert

testimony.

        Defendant opposes Plaintiffs’ claims for relief. In particular, Defendant contends that

medical monitoring would not be an appropriate form of relief, that all Plaintiffs’ claims lack merit,

and that class certification is not appropriate.

                12. Settlement and ADR:

        The parties previously engaged in extensive settlement negotiations and presented a class-


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wide settlement to the Court which included monitoring relief. The parties have not engaged in

further settlement negotiations since approval of the settlement was denied. Defendant does not

believe that this case is appropriate for class-wide resolution at this time.

               13. Other References:

       This case has already been referred by the Judicial Panel on Multidistrict Litigation to

this MDL, No. 2741.

               14. Narrowing of Issues:

       The parties are in discussions regarding issues that may be narrowed by agreement or

otherwise. Plaintiff does not believe that bifurcation of any issues would be helpful to resolution

of the Motion for Class Certification or a classwide trial. Defendant contends that the Court can

narrow the issues by addressing Plaintiffs’ standing at the outset.

               15. Scheduling:

       The parties are currently discussing a reasonable schedule.
       Defendant wishes to discuss with the Court the scheduling of this case and the related

cases described in paragraph 10 above. In particular, Defendant wishes to discuss whether

certain global issues, such as standing, can be resolved first.

               16. Trial:

       The case will be tried to a jury and would likely reflect a timeline similar to other trials that

have taken place in this MDL.

               17. Disclosure of Non-party Interested Entities or Persons:

       Plaintiff is not aware of any non-party interested entities or persons. Defendant previously

filed a Certificate of Interested Entities or Persons. ECF No. 30.




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               18. Professional Conduct:

       All attorneys of record for the parties have reviewed the Guidelines for Professional

Conduct for the Northern District of California.


Dated: September 12, 2024                          Respectfully submitted,


   For Plaintiff:                                  For Defendant

   /s/ Elizabeth A. Fegan                          /s/ John J. Rosenthal

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                               CERTIFICATE OF SERVICE

       I certify that on September 12, 2024, I electronically transmitted the foregoing Case

Management Statement to the Clerk of the court using the ECF system for filing and transmittal

of a true and correct copy of the foregoing document was served electronically or by another

manner as authorized by FED. R. CIV. P. 5.



                                                    /s/ Elizabeth A. Fegan
                                                       Elizabeth A. Fegan




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